Case 2:05-cr-20158-.]PI\/| Document 14 Filed 08/17/05 Page 1 of 2 Page|D 17

 

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IN THE UNITED sTATEs DIsTRICT COURT
FoR THE WESTERN DIsTRlCT 0F TENNESSEE 05 AUS IT AH 9= l9
WESTERN DlvlsloN

  
 
  

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UNITED sTATEs oF AMERICA t "Lf» PHIS

 

 

v.
ORLAN])O DEMETRIUS PRIDE 05cr20158-1-M1
ORDER ON ARRAIGNMENT
This cause came to be heard on 4 §§ gaf ¢? g QQ 5 the United States Attorney
for this district appeared on behalf of the gov ment, an the defendant appeared in person and with
counsel:

 

NAME%M\J who is Retainedeppointed.

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (3 0) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended.

________Tlie defendant, Who is not in custody, may stand on his present bond.

£The defendant, (not hagung-macle"b‘ond) (beingr a - y-'». o er (being a federal
prisoner) (being held without bond pursuan to BRA of 19; ¢. ended to the custody

of the U.S. Marshal.

 
  
   

 

UNITED STATES MAGISTRATE ]UDGE

CHARGES - 21:846
CONSPIRACY TO DISTRIBUTE CONTROLLED SUBSTANCE

Attorney assigned to Case: S. Canale

Age: 2 52

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UNITED sTATE DRISTIC COUR - WETERN D's'TRCT OFTENNESSEE

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This notice confirms a copy of the document docketed as number 14 in
case 2:05-CR-20158 was distributed by faX, mail, or direct printing on
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Stuart J. Canale

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Honorable J on McCalla
US DISTRICT COURT

